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            EXHIBIT A-4
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    DOCUMENT REDACTED
                                                                                              Page 1 of 2
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                                        Northwest         Hospital              Center


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                                                     RTI Information
         Chief Complaint: SOB/CONGESTED AND WHEEZING
       Patient Account #: 0936475054238
             Document#: 142474019582

            Patient Name: CRYSTAL LONG

                                                         Patient
       Patient Account #: 0936475054238

             Document#: 142474019582
            Patient Name: CRYSTAL LONG
       Patient Address 1: 5 126 SEKOTS RD

               Address 2:
           City/State/Zip: BALTIMORE, MD 21207

           Phone - Home: 4436273774
        Phone - Business: 4103793822

             Patient SSN:         7505
            Date of Birth: 05/01/1985
                      Sex: F

           Marital Status: S
   Patient Student Status:

       Admit Date/Time: 08/26/2014 18:23

                                                       Guarantor
     Guar. Relationship; SELF

            Guar. Name: CRYSTAL LONG
         Guar. Address I: 5126 SEKOTS RD

               Address2:
          City/State/Zip: BALTIMORE, MD 21207
     Guar, Home Phone: 4436273774

  Guar. Business Phone:

             Guar. SSN:          7505
        Guarantor DOB: 05/01/1985

              Guar. Sex: F
  Guar. Employer Name:

         Guar. Employer
               Address 1 :
              Address 2:
          City/State/Zip: ,
 Guar. Employer Phone:


                                                         Visit
       Chief Complaint: SOB/CONGESTED AND WHEEZING




file:///C:/Program%20Files%20(x86)/Tower/cache32/ICA-TCP#2/cachel0.xml                    PCP
                                                                                          PCp II 008 7
                                   Confidential
                                   Confidential -- Subject
                                                   Subject to
                                                           to Protective
                                                              Protective Order
                                                                         Order
                                                                             Page 2 of 2
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        Location Code: ECWR

          Facility Code:
      Admit Date/Time: 08/26/2014 18:23
       Mode of Arrival: 9
           Triage Time:

        Physician Time:

  Discharge Date/Time: 08/26/2014 21:02
  Was Patient Admitted:

            Was Patient
         Prev, Admitted:

      Previous ER Visit:

  Discharge Disposition: AA
  Discharge to Location:

                                            Next of Kin
                  Name: JULIA LONG
                   Type:

           Relationship: SIBLING
              Address 1 :

              Address2:
         City/State/Zip: ,
           Home Phone: 2408389258

        Business Phone:
                   SSN:
                   DOB:
                    Sex:

          Marital Status:

                                            Employer
           Company ID:

       Company Name: DF.PT OF CORRECTIONS

    Company Address 1 :
              Address 2:
         City/State/Zip: ,
      Company Contact
                 Person:

       Company Phone: 4103793822




file:///C:/Program%20Files%20(x86)/Tower/cache32/ICA-TCP#2/cachel0.xml   PCP
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                           Confidential -- Subject
                                           Subject to
                                                   to Protective
                                                      Protective Order
                                                                 Order
